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In~e Matter of:                                                        )
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     4-,

     _..
      0                                Petitioner,                     )        PETITION FOR STALKING
      0..
      0                                                                )        PROTECTIVE ORDER
     u
     0                           □ Guardian Ad Litem                   )        ORS 30.866
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     u
      0                and                                             )                                     (
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                                                       NOTICE TO PETITIONER
                  •     You must provide complete and truthful information. If you do not, the court may dismiss the
                        order and may also hold you in contempt of court.
                  •     If you wish to have your residential address and telephone number withheld from the Respondent,
                        use a contact address and telephone number so the court and sheriff can reach you.



1.                     □ I (write your name), \ tA::ffi~ L ~12...f u , re9.~est that the Court issue a Stalking
                      Protective Order against (write Respondent's name) -J oho I 1\c.., {<JA !_Jb.+ , requiring that
                      Respondent stop all contact and avoid all co_ENct with Petitioner (me).
2.                    I am 5/e     years old and a resident of     l I I\ "§?-0100 {~         County, Oregon.

3.                    Respondent is    /e 3       years old and a resident of   It (Bir}0r2J?..         County, Oregon.

4.                     What is your relationship to Respondent? (check one)
                        □ Respondent is my spouse or former spouse.
                        □ Respondent is my registered domestic partner or former registered domestic partner.
                        □ Respondent and I have a child together.
                        □ Respondent and I cohabit (live together in sexually intimate relationship) or used to cohabit (live
                       together in sexually intimate relationship).
                        □ I am Respondent's child.
                        □ I am a child of an intimate partner*ofRespondent (*spnuse/former spouse, parent of Respondent's
                       child or cohabitant/former cohabitant).
                        □ Respondent and I are in dating relationship or used to be in a dating relationship.
                        □ Respondent is a family member. (How are you and respondent r e l a t e d ? - - - - - - - - - - ~
                        □ Respondent is a friend or former friend.
                        □ Respondent is a co-worker or used to be co-worker.
                      ~Respondent is a stranger.
                       □ other
                              ----------------


PETITION FOR STALKING PROTECTIVE ORDER - PAGE 1 OF 6
(Stalking 8/2016)                                                                             EXHIBIT 9 - Page 1 of 19
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 To _qualify for a stalking protective order:
  ~ . the Respondent must have intentionally, knowingly, or recklessly engaged in repeated and unwanted
  ~     contact that alarmed (frightened) or coerced (forced) you or a member of your immediate family or
  ~     household within the last two years,
  ·§i• it is reasonable for you to feel alarmed or coerced and
   2•0
        the contact made you reasonably fear for your physical safety or the safety of your household or family,
     >--.
     0..
 Y® must provide details describing the conduct by Respondent that is repeated and unwanted contact.
 Hjou do not state facts to back up this application, it may be denied.
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    "O
    '..::I
   ·aJescribe below in Section 5 any unwanted contact by Respondent within the last two years. List the most
   >tecent contact first, followed by the next most recent, etc. For each contact, write down the location (place),
     date, and approximate time of the contact. Explain what was alarming or coercive and who was alarmed
     or coerced.
                    At least two separate incidents of unwanted contact must have happened.



 5A.          Date/Time of last incident:9-\l- \~ :t:.+ lO~ 001,µf    .3:pm
              Location (include County and State): EVV'ifleeeo    B~ Ap-ts ~n~ Qw/l'\.
  .-\oho \V\e,Kntjh+                ,\ \ \clf{YX)l, o(l..,
              Describe what happened anq to whom"CI UJ).r)-\- -li\ ~~\<.Dom :::Y) ~ n'\A-\ \
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 5B.         Date/Time of earlier unwanted contact:    ll-H-li    -JOhY\   \Y\c...-~_Bh.t-
              Location (include County and State):t.V~ee(\       @r,Mef) Bp-\-s- 71\\t¥f)D?t 1 l) 17 .

              Describe what happened an~ to whom:-:T       hlwe.., no\i ceJ 'le ~ < . , ~ + 1:\-: JD
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Sus¥\~ h ~ ~-\--~ cl ""To.osiit?, t\od iYL-\vwtls B\ruod :tM OfRV\¾>P ..~
 PETITION FOR STALKING PROTECTIVE ORDER- PAGE 2 OF 6                              EXHIBIT 9 - Page 2 of 19
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                    Case 3:23-cv-00656-SI          Document 31-9      Filed 12/17/24     Page 3 of 19
SC.        Date/Time of earlier unwanted contact: 7-20 (g,           3.~nooa d-~odr-d                &zpn, -\-v QOM
     ~'     Location (include County and State):   fveJZ§tz.ee/\ g~en             I\ l\o){'f\oD!L O{L
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     t:!
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     l      Describe what happened and to w~omT LOOS sho.Ju'.'¥)          thy ~,~oo OOj OPlD c..&e, orJ
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    ~-JUDt:/

6.          Explain why the unwanted contact was alarming or coercive:   \Jbeb Tm sct\ld'l_] outs·vd e
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-=i=- s~ OJ\ ob C1:>rt\\>\12__-\Qh5 @125W)J e1' Vhe.--
1.          Explain why the unwanted contact has made you afraid for your personal safety or the safety of a family

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orhouseholdmember~ ))1)\1) ~€0

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                    .Tw~            :r- -            Q.e.s



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8.          Explain why Respondent knew or should have known that his/her conduct was unwanted:T..te.... ;:;y;ko.J

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~El tvttndS ~t ~, ffij \\!~ Mnued cu± beaw=R $\t,, io 1ms •J
            'dJr  have attached an additional page(s) detailing more unwanted and alarming/coercing contacts,
            {;;dlor giving more information about the contacts described above.




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                                            _Verified Correct Copy of Original 9/12/2018._




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management
se,.vtc      e   s
                              Grand Management Services
                              420 Park Avenue, Coos Bay, OR. 97420
                              541 -269-5561 Phone/ 541-269-2481 Faxll11 TTY
                              1Nww.grandmqmt.com


NOTICE OF INTENT TO EVICT

Date:     September 11, 2018                                 This form was sent via:                            Hand-delivered
                                                                                                                I st Class Mail
To:       Tamera Porter
          3810 1211, Street #09A
          Tillamook, OR 97 I 41

You are hereby notified that the Landlord intends to terminate your Tenr.mt/Landlord Lease Agreement

establishing your tenancy at: 3810 12th Street #09A, Tillamook. OR 97141
This notice is given due to non-compliance with the lease agreement or for other good cause as described below. This not.ice of adverse
action has been delivered to you by 1st class mail or as specified above. We have given you a specific reason for the temlination of your
lease agreement.

The following provisions in the lease agreement have been violated and/or the documented good cause promjlting
this notice include:

      □ Your income is too high for our housing programs.
      □ You have failed to report changes in household composition or income.
      □ The largest unit size at our complex is too small to accommodate your household or you do not meet
        the occupancy guidelines as follows: _______________
     □ Our housing program requires us to rent to individuals or families who have elderly or disabled
        household members. Your household does not meet these requirements.
     □ Your household members have failed to meet disclosure requirements for social security numbers.
     □ Tenant file documentation has revealed that you have a history of unjustified and chronic nonpayment
        of rent and financial obligations.
  X
 ')<'
        Tenant file documentation has revealed that you have a history of violence and harassment of
        neighbors or management personnel.
        Tenant file documentation has revealed that you have a history of disturbing the quiet enjoyment of
        neighbors and/or the property.
'r:/ Tenant file documentation has revealed that you have a history of violations of the terms of the rental
 7'- agreement such as the destruction of a unit or failure to maintain a unit in a sanitary condition.
     □ Your household does not have enough disposable income to pay all debts, rent, and normal household
        expenses as per our eligibility criteria guidelines.
     □ Verifications of the information piovided in the file documentation indicate that you have provided false
        01 inaccurate information.
  V     Tenant file documentation has revealed that you have a history of physical violence, criminal activity, or
  /'i drug-related activity. We believe that you constitute a diract threat to the health and safety of our
        residents or management staff or we believe that your tenancy would adversely affect the physical
        condition and reputation of the housing complex.
     □ Your household does not qualify according to the pet rules for the project.
     □ You have not personally resided in the rental unit for a period exceeding 60 days or you have not
        maintained this rental unit as your primary residence.
     □ You have failed to pay rent or other financial obligations due the Landlord beyond any grace period
        available under State law.
     □ You have failed to reimburse the Landlord within 30 days for repairs.
        You have permitted unauthorized persons to live in your rental unit.
     □ You have failed to repay unauthorized rental assistance payments.
     □ You have failed to pay Security Deposits, Pet Deposits or damage charges as per Promissory Note.
.... 3/You have failed to carry out obligations under the State of Oregon Landlord and Tenant Act.
 .7'.. You have breached the following terms of the lease agreement and/or its addendums and attachments
        to the lease agreement:
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                 □    Your Housekeeping has been deemed unacceptable by management and we believe it to be a heath

                 ;x   and/or safety hazard.
                      Other good cause as identified below:



                 The Specific acts or problems, which violate the lease agreement and/or property ground rules or
                 create good cause for eviction include: See items checked above for detailed description.

                 On August 1st , 2018 You came into the office of Evergreen Gardens and spoke to the manager, Cindy
                 Fargher accusing the maintenance man (John) of stalking you and you told the manager that the last person
                 that "stalked you" got shot. The next day, August 2 nd , you put a bumper sticker on your car that say's "I
                 have 2 auto's" that have pictures of a gun. On August 10th , Management received a written complaint from
                 a resident of Evergreen Garden's Apartments letting us know that you had asked her if she knew anyone
                 with a gun to purchase. You then told her that back in California, you had shot and killed a stalker and was
                 inquiring about buying a gun to shoot John the maintenance man. On August 13th , 2018 after hearing about
                 your threats against him, John became concerned for his safety and notified the Tillamook County Sheriffs
                 Office to make a report. Management has obtained a copy of such report. It was reported that John had
                 caught you (Tamara Porter) peering into his bedroom window on several occasions. There was also
                 another incident when John went to your apartment to do requ3ste:d repairs and that you were not
                 appropriately dressed, and made mention of wanting something "other than repairs", at which point he
                 refused your request. This violates the property ground rules under section 3, C (1) Outrageous conduct:
                 (1_) Tenant threatens to immediately inflict personal injury, or actually inflicts substantial peraonal injur}'
                 upon the landlord or the landlord's employees or any other tenant or neighbor living in the immediam
                 vicinity.

                 On August 8th , Management had an issue with a neighboring tznant and her wind chimes which we asked
                 her to take down because it was bothering another resident. You (Tamara Porter) then decided to get
                 involved and put up wind chimes in front of your unit. Management called you to discuss and asked you to
                 take down the windchimes. You then left a threatening, rude, accusatory voice mail on the Evergreen
                 Garden's voice mail and followed up with 2 very rude and threatening calls to the main office which we have
                 recorded. Management considers these constant verbal attacks by you, harassment of management
                 personnel. This violates the property ground rules under Section 3 H Abuse of Management Personnel.
                 Verbal abuse including yelling or searing, meritai abuse, or physical abuse towards the resident manager,
                 management agency or personnel, maintenance personnel, other tenants, neighbors, guest or other
                 persons is expressly prohibited and will lead to the termination of tenancy immediately upon the first
                 occurrence. You signed these rules on 8-13-14.

'S, ~            On August 2.!l th , you left a threatening, rude message on the Evergreen Garden's office voice mail in regards
    ~,:.         to the landscapers taking bricks and things out of what you call "your area". Your voice mail was rude,
                 threatening, accusatory and showed a lack of respect for management. This violates the property ground
~   ~~. >i,      rules under Section 3 H Abuse of Management Personnel. Verbal abuse including yelling or searing, mental
      o>-1-:'i   abuse, or physical abuse towards the resident manager, management agency or personnel, maintenance
                 personnel, other tenants, neighbors, guest or other persons is expressly prohibited and will lead to the
                 termination of tenancy immediately upon the first occurrence. You signed these rules on 8-13-14.

~s{~~•-"Vo''-Jn August 28th , it was witnessed that you were walking your dog off of a leash around the backside of
~\           building 9A. This is against the assistance anrmal agreement you signed on August 13, 2014 that states
\J-"         that the animal shall be on a leash when outside of your unit - (Condition #1)

                 On September 5th , you were witnessed by the site manager, Cindy Fargher driving very fast through the
                 parking lot into your parking space, much faster than the posted 10 mph speed limit.

                 On September 9th , you were seen walking your dog off of a leash on the property. This is against the
                 assistance animal agreement you signed on August 13, 2014 that states that the animal shall be on a leash
                 when outside of your unit - (Condition #1)

                 On September 9th , you left a threatening, rude, accusatory, harassing voice mail on the Evergreen Garden's
                 Office Phone. This voice mail threatens Cindy's job, threatens legal actiqn and also possible physical
                 retaliation. Management considers this abuse of management personnel. This violates the property ground
                 rules under Section 3 H Abuse of Management Personnel. Verbal abuse including yelling or searing, mental
                                                         Page 2 of4

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                      abuse, or physical abuse towards the resident manager, management agency or personnel, maintenance
             I        personnel, other tenants, neighbors, guest or other persons is expressly prohibited and will lead to the
oci
......                termination of tenancy immediately upon the first occurrence. You signed these rules on 8-13-14 .
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C::l
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                      On September 10th , I received another written complaint from another resident, stating that you walk in her
~
                      apartment without being invited in. This makes the tenant feel uncomfortable, as she does not want you
"'"So
 .:
                      there. You also told this resident that you have been listening in John's window and doing everything you
8
,....
                      can to "get rid" of the manager. This tenant feels harassed by this behavior. This violates the ground rules
                      for the property under Section 3, (B) Nuisance - tenant shall not do anything which interferes with the right
 0
 >-.
 0.                   of other tenants to have a safe, healthy and comfortable place to live, or which disturbs the quiet enjoyment
 0
u                     of their apartments. It also violates the property ground rules under Section 3 H Abuse of Management

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u
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                      Personnel. Verbal abuse including yelling or searing, mental abuse, or physical abuse towards the resident
                      manager, management agency or personnel, maintenance personnel, other tenants, neighbors, guest or
"O
                      other persons is expressly prohibited and will lead to the termination of tenancy immediately upon the first
 "'
t;:i                  occurrence. You signed these rules on 8-13-14.
J        I


                      On September 10th , Management received a written complaint from the site manager, Cindy Fargher,
                      indicating that on Sunday 9-9-18 you were seen walking your dog off the leash. When she nicely asked you
                      why your dog was off the leash, you were argumentative and belligerent to her. This is against the
                      assistance animal agreement you signed on August 13, 2014 that states that the animal shall be on a leash
                      when outside of your unit - (Condition #1 ).


                      On September 11, 2018 Management received a written complaint from the site manager, Cindy Fargher
                      that outline suspicious behavior from your unit. It has been reported to her that you have activities in your
                      apartment of possible prostitution and that you hang a "red cloth" on the outside of your window indicating
                      that you are "open for business". I have been provided a photo of this "red cloth" that is very suspicious. This
                      violates your lease under section 24, B 9(a) Prostitution or promotion of prostitution as described in ORS
                      167.007 and 167.012.

                       You can correct these violations by: Not harassing the maintenance man, John. Stop listening and peeping
                      'into his windows. Do not have conversations with John outside of maintenance requests and we prefer
                       those requests be in writing from now on and be turned into the Evergreen Gardens Office only. Refrain
                       from conversations regarding guns and threatening to shoot residents or employees. Refrain from getting
                       involved in issues that have nothmg to do with you such as the windchimes and refrain from leaving
                       abusive, argumentative voice mails for Grand Management Staff. Make sure that your dog is always on a
                      ·leash when your dog is outside of your apartment. Make sure you observe the 10mph posted speed limit.
                       Do not walk in ANYONE's apartment without being invited in. Do not threaten Grand Management Staff to
                       the residents of Evergreen Garden's Apartments. Refrain from any suspicious activities that may involve
                       possible prostitution. Be courteous and kind to employees of Grand Management and the other residents of
                      the Evergreen Gardens Apartments.




                 The Landlord hereby notifies the Tenant that the Tenant will be expected to correct the problems or acts detailed above, which have
                 violated the above-stated provisions of the lease or created good cause for termination of the lease. Landlord hereby notifies the
                 Tenant that the Landlord intends to terminate the lease agreement within 30 days after the date this notice was initially mailed
                 by first class mail to Tenant unless the acts 01· problems which violated provisions of the lease or created good cause for eviction
                 are remedied. The Tenant will be given fourteen (14) days from the date notice was mailed by first class mail to Tenant to correct the
                 problems or acts which have prompted this notice. The specific problems or acts must not recur during this 14-day period and the
                 Tenant must show satisfactory proof that these problems have been corrected by the following date:

                 ~9~-3-0~-=2~0_18___ (14 days from date notice mailed by first class mall to Tenant, not counting day of service).

                 Following this 14-day period, Landlord will notify Tenant whether or not Tenant has satisfactorily corrected the problems or acts
                 prompting this notice, lfTenant has not remedied the problems cited above, based on the Landlord's judgment, then the Tenant
                 must move from the above-described premises by:

                 ~1=0-_1_,5'-2=-0=-1_8~----------
                            -'                    (30 days from date notice mailed by first class mail to Tenant, not counting day of
                 service).

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If the Tenant fails to move out of the above-described premises, the Landlord may seek to force the Tenant to move out by
filing an eviction suit in State Court. If successful, the Judge may order the Tenant to pay all court costs and expenses,
including reasonable attorney fees. The Tenant will be given a chance to represent a defense during this court action. If
substantially the same act or omission which constituted a prior noncompliance of which notice was given recurs within six
months, the Landlord may terminate the rental agreement upon at least 10 days written notice specifying the breach and the
date of termination of the rental agreement

Landlord agrees to answ r, as fully as possible, any questions Tenant has in regard to this notice. Acting on behalf of the
Landlord, the following gnature sets forth the legality of this notice on the date this notice was mailed to Tenant by first
class mail.

                                                          Date 9-11-2018            Phone 541-269-5561

Printed N_ame     Kristin Smith               Title/Organization __..,_P..,_r=op""e=rt_._y'--'-!-M=a=n=a...,qe=r________




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9A. Were any of the spoken or written contacts a threat that made you afraid that serious personal violence or
physical harm would happen to you very soon?
  00
  ......
  0
  ~         □   No. You do not need to fill out questions 9A-9D and can go to Question 10.
            f
  N
  ......
  ---a,
  el
                Yes. The spoken or written contact(s) I described in □ 5A □ 5B □ 5C were such a threat.
    t::
  "So
lf9'ou answered yes, you must also answer the following four questions:
    0


9~ Why did you believe that the threat was directed to you:I            I.Jf\S   Loacft~ my rae. up, W
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9C. Why did you believe that the Respondent intended to carry out that threat: E::\Jeeg-hme        +
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20()\.-- Z002..                                                                          L    L .... r.
9D. Why did you believe that the Respondent had the ability to carry out that threat: ~~ D,.L JWJ




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9E. Explain why that threat made you afraid of imminent serious personal violence or physical harm~

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treatment as part of the Permanent Stalking Protective Order.       r
10. I want the court to order Respondent to complete a menta~alth evaluation and any recommended
                                                              Yes □ No

11. I will need an interpreter in court.     □ Yes   1 No

12. I believe the Respondent will need an interpreter in court.     □ Yes ~No

to ORS 30.866(4) (c).      r
13. If I hire an attorney£ represent me in this case, I am asking that the court award me attorney fees pursuant
                          Yes □ No

PETITION FOR STALKING PROTECTIVE ORDER- PAGE 4 OF 6
(Stalkmg 8/2016)                                                                  EXHIBIT 9 - Page 12 of 19
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                                                     Notice to Petitioner:
 1)is petition must be completely filled out, signed, and acknowledged by a notary public or court clerk
 ~fore a judge can hear it. If the information in the petition does not meet the statutory requirements for a
 Stalking Protective Order, the Court will deny the petition. If the order is granted, be sure to appear at all
 ~heduled court appearances or the order may be terminated. To help protect you or a member of your
 i~ediate family or household, you should take steps to enforce the order by contacting the police when and
 i~ the Respondent violates the order. Even then, this order may not protect you or a member of your
 illunediate
   C.
              family or household against the Respondent's actions. If you feel you or a member of your
 itprnediate family or household are in immediate danger, you should contact the police by dialing 911.
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D~Dtbis            /2.     dayof       hpluxkt                                   ,20Jt_.


         ~WI                                                                    ffiroeea✓ L. U12-fe12
Signature of Petitioner                                                                Print Name

 3g ID tzth 51- 9-f1
Address or Contact Address
                                            TtlbmtJolm C/7!f! ~ -157-73.3.S-
                                            City, State, Zip                           Telephone or Contact Telephone

State of     ~ tl)L                                 )

Countyof           ~l                               )
                                                     )


                                                                                                             ,20   l~       , (date)

by                                                                                                             (name ofperson(s)) .



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                                                         &          ·•.......     y ommission Expires:
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                                                e or ore ;,,
Certificate of Document Preparation. (You are requzri!tl o truthfully complete this certificate. Check all boxes and
complete all blanks that apply):
           □ I chose this document for myself and I completed it without paying for help.
           □ I paid or will pay money to _ _ _ _ _ _ _ _ _ _ for helping me prepare this form.


                                                                    TaMoA,O.,              3?o~
Si~ature of Petitio~              a.                                    Print Name
  6~\"D             \;).    S:\-. -, .. A      ,\\\a.vW?Ql<- 1 C1X-911L/J S03-'-f57-7335
Address or Contact Address                  City, State, Zip                    Telephone or Contact Telephone

I certify that this is a true copy:


Petitioner's Signature




PETITION FOR STALKING PROTECTIVE ORDER- PAGE 5 OF 6
(Stalkmg 8/2016)
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                                                  Information about Respondent
(Whpt you write in the blanks below will make it easier to find and serve the Respondent with the order and to take care of any safety
cdfif;erns the officers serving the order may face.)
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Height/Weight:        0           //pQ                  Hair Color I Eye Color:    g~ --:i!!JohllJ /J/J$td.f ,/j-
Physical C h a r a c t e r i s t i c s : - - - - - - - - - - - - - - - - - - - - - - - - ~ - - - - -
                                        I ~[u.L,                       ,, U    f'l l_ I
Description of Vehicle: TlJ:._!1)--r,::::;,,,    {JICLU/J /L)IT[l ~ -
Access to Weapons? If so, what type? ___.._..L....L~~
                                                  . . . . . .""'"""'"~~------------------
Arrested or convicted of violent crime? Explain .<.'-~""""""-1/lU)l/,.L..OQ_L.,f.;1_.....R-"----------------



Danger to Others? To Respondent himself/herself? Explain"--~                  afle!J('< ~~e ,(A a_.
domp! /o m?Mf ¥ flw ~ fLV&nj -~-.




PETITION FOR STALKING PROTECTIVE ORDER- PAGE 6 OF 6
(Stalking 8/20 I6)
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In fhe Matter of :                                        )
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       0                                                  )      M'TEMPORARY STALKING
     u
                                                          )      ~OTECTIVE ORDER
7Jmet:£L ~oefc~.                                          )
                ,               Petitioner,               )       □ FINAL STALKING PROTECTIVE
                           □ Guardian Ad Litem            )       ORDER AND JUDGMENT
                    and                                   )
                                                          )       □ ORDER OF CONTINUANCE
                                                          )
                                                          )       □ JUDGMENT OF DISMISSAL
                                                          )

This matter came before this Court on ~/ / I 3 /                       18
                                                     (date) for hearing on issuance of a:
      (JI'... Temporary Stalking Protective Order
       □ Final Stalking Protective Order and Judgment.


PETITIONER: 5Appeared in person □ Did not appear □ With attorney _ _ _ _ _ _ _ __
RESPONDENT: □ Appeared in person □ Did not appear □ With attorney_ _ _ _ _ _ _ __

                    The court considered the allegations made in the Petition and other evidence offered and FINDS:
                          )ilf'or Temporary Order) probable cause that:
                           □ (For Final Order and Judgment) by a preponderance of the evidence that:


1.       MRespondent has engaged intentionally, knowingly, or recklessly in repeated and unwanted contact with
     ~ Petitioner or a member of the Petitioner's immediate family or household, and it was reasonable for
                Petitioner to be alarmed or coerced by this contact.

2.          )1lRespondent knew or should have known that the repeated contact was unwanted.
3. M.,rt is objectively.reasonable for a person in Petitioner's situation to have been alarmed or coerced by
   Respondent's contact.

4. ~-Respondent's repeated and unwanted contact caused the Petitioner reasonable apprehensio~ regarding
         Q
      Petitioner's own personal safety or the safety of a member of his/her immediate family or household.

5.          WRespondent represents a credible threat to the physical safety of Petitioner or Petitioner's or
                ~pondent's child/ren.

6. ¥The unwanted contact occurred within two years of the filing of this action.
siALkINGORDER-PAGE 1 of5
(Stalking 8/2016)                                                                      EXHIBIT 9 - Page 15 of 19
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         7. 0 If applicable: Any unwanted contact that \.Vas purely communicative in nature was perceived by
              Petitioner as a credible threat of imminent serious personal violence or physical hann to Petitioner or to a
              member of his/her family, and 1t \.Vas reasonable to believe that such threat \Vas likely to be followed by
         I    unlawful acts.
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~IT
...... IS HEREBY ORDERED that:
ai
MTemporary Stalking Protective Order
ca Final Stalking Protective Order and Judgment
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&. ),{ Respondent shall stop stalking Petitioner or member of Petitioner's immediate family or household
i            members and shall stop all contact and avoid all contact with Petitioner or members of Petitioner's
8            immediate family or household. Contact includes but is not limited to:

                  A.          Coming into the visual or physical presence of the other person;
                  B.          Following the other person;
                  C.          \,Vaiting outside the home, property, place of \.vork or school of the other person or of a member
                              of that person's immediate family or household and being at the following places: _ _ _ _ __




                  D.          Sending or making written or electronic communications in any form to the other person;
                  E.          Speaking with the other person by any means;
                  F.          Communicating with the other person, including through a third person;
                  G.          Committing a crime against the other person;
                  H.          Communicating \.vith a third person who has some relationship to the other person with the intent
                              of affecting the third person's relationship with the other person;
                  I.          Communicating \.Vi th business entities \Vi th the intent of affecting some right or interest of the
                              other person;
                  J.          Damaging the other person's home, property, place of work, or school; or
                  K.          Delivering directly or through a third person any object to the home, property, place of\.vork or
                              school of the other person.
                  L.          Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




         STALKING ORDER- PAGE 2 of5
         lStalkmg 8/'.!016)
                                                                                           EXHIBIT 9 - Page 16 of 19
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IT IS FURTHER ORDERED THAT:

  An ex parte bearing on TEMPORARY relief having been held:
  0
  ~

9.~ 1t('Respondent must appear at a hearing on this Temporary Stalking Protective Order on
  .1rlb /     l / 1€::>(date) and z: oo               (time) in Room 10€, of the t7LL.~oJc-
  8County Courthouse to show cause why the Temporary Stalking Protective Order should not be continued
  'o for an indefinite period. The Temporary Stalking Protective Order issued on       1    I I 3 I 18 (date)
   gshall be enforceable against the Respondent until terminated by the court or until service upon the
  ~Respondent of a Final Stalking Order. See attached "Notice to Respondent and Order to Personally
   ~Appear For Hearing."
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l(ffi □ NO Temporary Stalking Protective Order shall issue, as the Court finds Petitioner has not proven a basis
   0
  >for such order.

  A hearing on PERMANENT relief having been set for today after notice to the Respondent:


11. CONTINUANCE
    □ The hearing shall be CONTINUED to          /       /       (date) and _ _ _ _ (time) in Room
    _ _ _ _ of the _ _ _ _ _ _ _ _ _ _ _ County Courthouse. The Stalking Protective Order issued
    on -----'-/_ _-'/___ (date) shall remain in effect pending this hearing.

12. WARRANT
    □ A Warrant for Respondent's arrest shall issue because Respondent did not appear. Security amount is set
    at □ $5,000 / □ $_ _ _ _ _ _ __

13. DISMISSAL
    □ The Temporary Stalking Protective Order issued on               /      /        (date) shall be terminated and
    the Petition dismissed, as the Court finds that Petitioner has not proven the basis for this order or
    □ Petitioner did not appear.


14. VOLUNTARY DISMISSAL
    □ The Temporary Stalking Protective Order issued on _ _ _ _ _ _ _ _ {date) shall be terminated and
    the Petition dismissed, as the Court finds that Petitioner has made such a request voluntarily.

15. FINAL ORDER AND JUDGMENT
    □ The court has ordered the continuation of the terms of the restraint detailed above in Paragraph 8.
    This Order is a Final Judgment and is of unlimited duration unless modified by law or by further
    order of the court.

16. ATTORNEY FEES
    □ Pursuant to ORS 30.866(4)(c), Petitioner is awarded attorneys fees in the amount of$ _ _ _ _ __
    □ Other order regarding award of attorneys fees to Petitioner: _ _ _ _ _ _ _ _ _ _ _ _ _ __




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(Stalking 8/2016)                                                              EXHIBIT 9 - Page 17 of 19
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17.MENTALHEALTHEVALUATION
   ,□ Respondent is ordered to undergo a mental health evaluation and, if indicated by the evaluation,
  ~treatment.
  § □ Respondent is without funds to obtain the evaluation or treatment or both. □ Respondent is referred to
  ai
  ](mental health agency):
  ·oo                         -------------------------------
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   o
18gSERVICE:                         □   Petitioner   □   Respondent was served in Court with a copy of this Order.
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   ~
1%jDATE OF BIRTH:                   □   Respondent's date of birth is: (See CIF)
  "Cl
   o.)
  l.::i
  J,          CERTIFICATES OF COMPLIANCE WITH THE VIOLENCE AGAINST WOMEN ACT

20. FIREARMS NOTIFICATION under 42 USC §3796gg-(4)(e): As a result ofthis Order, it may be
unlawful for Respondent to possess, receive, ship, transport or purchase a firearm or ammunition pursuant to
federal law under 18 USC §922(g)(8) and state law under ORS 166.250 to 166.270. This Order also may
negatively affect Respondent's ability to serve in the Armed Forces of the United States or to be employed in
law enforcement. [OJIN/ODYSSEY Event Code: NOGR]

          NOTICE TO RESPONDENT: If you have questions about whether federal or state laws make
          it illegal for you to possess or purchase a firearm, and/or about whether this Order will affect
          your ability to serve in the military or be employed in law enforcement, you should consult an
          attorney.

21. □ FIREARMS PROIDBITION: This Order (or the original Order that is continued) prohibits
Respondent from possessing FIREARMS or AMMUNITION and it is unlawful for Respondent to do so under
state law. [OJIN Event Code: FQOR]

22. □ FEDERAL & STATE FIREARMS FINDINGS (18 USC 922(g)(8) ("BRADY") AND ORS 166.250
to 166.270: This Order may subject Respondent to federal and state prosecution for possession, receipt,
shipping, transportation, or purchase of firearms or ammunition while it is in effect. This prohibition would
apply whether or not the restraining order contains specific terms prohibiting the possession or purchase of
firearms or ammunition. [OJIN/ODYSSEY Event Code: ORBY; LEDS Brady Code: Y]

              The Court finds:
              A. Relationship: The person protected by this Order is (check at least one):
                 □ A spouse or former spouse of Respondent.
                 □ The parent of Respondent's child.
                 □ A person who does or did cohabit (live in a sexually intimate relationship) with
                    Respondent.
                 □ Respondent's child.
                 □ A child of an intimate partner* of Respondent (*intimate partner is spouse/former spouse,
                    cohabitant/former cohabitant, or parent of Respondent's child).

          □   B. Notice and Opportunity to Participate:
                 The Order was issued after a hearing of which Respondent received actual notice and at which
                 Respondent had the opportunity to participate.

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(Stalking 8/2016)                                                                  EXHIBIT 9 - Page 18 of 19
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   00
     .□       C. Terms of Order:
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   er,
                 The Order restrains Respondent from harassing, stalking or threatening Petitioner or Petitioner's or
   .-
   a;;           Respondent's child/ren or engaging in other conduct that would place Petitioner in reasonable fear of
   cl
   .:            bodily injury to Petitioner or Petitioner's or Respondent's child/ren; AND
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   4-,
                 Respondent represents a credible threat to the physical safety of Petitioner or Petitioner's or
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                 Respondent's child/ren; OR
   u
   0             This Order by its terms explicitly prohibits the use, attempted use, or threatened use of physical force
    ~
    0            against Petitioner or Petitioner's or Respondent's child/ren that would be reasonably expected to
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                 cause bodily injury.
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   J,
          FULL FAITH AND CREDIT PROVISIONS: This Order meets all full faith and credit requirements of
          the Violence Against Women Act, 18 USC §2265. This Court has jurisdiction over the parties and the
          subject matter. Respondent was or is being afforded notice and timely opportunity to be heard as provided
          by Oregon law. This Order is valid and entitled to enforcement in this and all other jurisdictions.


Judge Signature:




Certificate of Document Preparation and Readiness for Judicial Signature. You are required to truthfully
complete this certificate regarding the document you are filing with the court. Check all boxes and complete all
blanks that apply:
          EJI selected this document for myself and I completed it without paid assistance.
    □ I paid or will pay money to _ _ _ _ _ _ _ _ _for assistance in preparing this form.
This proposed order is ready for judicial signature under UTCR 5.100 because this order is submitted ex parte
as allowed by statute or rule, or is otherwise not required pursuant to UTCR 5.100(3 ), or by statute, rule, or
otherwise.                                                                ~
Dated: -L q-/8,.- I          Y_    Submitted by (signature): \_'    ~                     W
                             PolL 111\.          •
                      Petitioner □ Attorney for Petitioner                 □ OSB No.     (if applicable)

3&/0 (zj15f- 9~14
Address or Contact Address                           City, State, Zip      Telephone or Contact Telephone Number
Use a Safe Contact address                                                        Use a Safe Contact number




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(Stalking 8/2016)                                                                   EXHIBIT 9 - Page 19 of 19
